                 Case 2:18-mj-00166 Document 1 Filed 03/23/18 Page 1 of 1 PageID# 9
March 2016AO 91 (Rev. 01/09) Criminal Complaint


                                  UNITED STATES DISTRICT COURT
                                                                                                                filed
                                                            for the
                                                  Eastern District of Virginia                               MAR 2 3

                 United States of America                      )    UNDERSEAL
                             V.                                ) Case No. 2:18mj\GG
                                                               )
             WALLACE GROVE GODWIN,                             )
                                                               )
                         Defendant
                                                   CRIMINAL COMPLAINT

         I, the complainant in this case, state thatthe following is trueto the bestof my knowledge andbelief, or about to
on or about March 22,2018, in the Eastern District of Virginia the defendant violated:



             Code Section                                                Offense Description

     18U.S.C§ n5(a)(l)(B)                                          Threatening to murder and assault a United States
                                                                   official




        This criminal complaint is based on these facts:
        13 Continued on the attached sheet. (Please see attached Affidavit)

        READ AND REVffiWED:



        Daniel T. Young
        Assistant United States Attorney

                                                                                          Com^amant's   signature
                                                                                          Complainant's sk
                                                                        Gerren Stith, Special Agent, U.S. Capitol Police
                                                                      Printed name and title
Sworn to before me and signed in my presence.

Date:

City andstate:         AJjjt, l/A                                                      1TnitpH Staffs Magistrate Judge
                                                                                           Printed name and title
